Case 1:06-cr-00218-CBA   Document 94   Filed 08/11/06   Page 1 of 5 PageID #: 237




                                       /s/ Hon. Carol B. Amon
Case 1:06-cr-00218-CBA   Document 94   Filed 08/11/06   Page 2 of 5 PageID #: 238
Case 1:06-cr-00218-CBA   Document 94   Filed 08/11/06   Page 3 of 5 PageID #: 239
Case 1:06-cr-00218-CBA   Document 94   Filed 08/11/06   Page 4 of 5 PageID #: 240
Case 1:06-cr-00218-CBA   Document 94   Filed 08/11/06   Page 5 of 5 PageID #: 241
